            Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 1 of 13




                IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF PENNSYLVANIA
_______________________________________
CORIE SMITH                             :
                                        :
                                        : CIVIL ACTION COMPLAINT NO.
               Plaintiff,               :
                                        : JURY TRIAL OF TWELEVE (12)
                                        : JURORS DEMANDED
      v.                                :
                                        :
TRANS UNION LLC                         :
                                        :
And                                     :
                                        :
EQUIFAX INFORMATION SERVIVCES :
LLC                                     :
                                        :
            Defendants.                 :
_______________________________________

                                  CIVIL ACTION COMPLAINT

   1.        This is an action for actual, statutory, and punitive damages, costs, and attorney’s fees

pursuant to 15 U.S.C. §1681 et seq. (Fair Credit Reporting Act).

                                    JURISDICTION AND VENUE

   2.        Jurisdiction of this Court is conferred by 15 U.S.C. §1681(p) and 28 U.S.C. §1331.

   3.        Venue in this District is appropriate under 28 U.S.C. §1391(b)(1) because Defendant

Trans Union is a citizen of the Commonwealth of Pennsylvania, as defined by 28 U.S.C.

§1391(c)(2).

                                                PARTIES

   4.        Plaintiff is a natural person and a “consumer” as that term is defined by 15 U.S.C. §

1681a(c).

   5.        Defendant, Trans Union, LLC, is a For-Profit Limited Liability Company registered to

do business in Pennsylvania and with a registered agent in Pennsylvania. Defendant is a “consumer

                                                   1
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 2 of 13




reporting agency,” as defined by 15 U.S.C. § 1681a(f), and is engaged in the business of

assembling, evaluating, and disbursing information concerning consumers for the purpose of

furnishing consumer reports, as defined by 15 U.S.C. § 1681a(d), to third parties. Trans Union’s

consumer dispute center is located in the Eastern District of Pennsylvania.

   6.      Defendant, Equifax Information Services, LLC, (hereinafter Equifax) is a Foreign For-

Profit Limited Liability Company registered to do business in Pennsylvania and with a registered

agent in Pennsylvania. Defendant is a “consumer reporting agency,” as defined by 15 U.S.C. §

1681a(f), and is engaged in the business of assembling, evaluating, and disbursing information

concerning consumers for the purpose of furnishing consumer reports, as defined by 15 U.S.C. §

1681a(d), to third parties. Based on information and belief, Equifax is reporting consumer credit

files on over 250,000 consumers in Pennsylvania.

                                   FACTUAL ALLEGATIONS

   7.      Plaintiff incorporates by reference all the foregoing paragraphs as though the same

were set forth at length herein.

   8.      Defendants are reporting Plaintiff’s World Finance (World Finance) account #

****2601 on Plaintiff’s credit reports.

   9.      Plaintiff’s debt with World Finance arose from a personal loan. World Finance closed

the account on 08/10/2018, after the account was closed with a zero balance. Plaintiff’s payment

obligations to World Finance ceased.

   10.     The trade line was updated to reflect a $0 balance when the account was closed on

08/10/2018.

   11.     According to Plaintiff’s Trans Union credit report dated 01/22/2019, Plaintiff’s World

Finance account was closed with a $0 balance on or about 08/10/2018. Despite the World Finance



                                                2
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 3 of 13




account being closed with a $0 balance on or around 08/10/2018, World Finance continued to

report an erroneous pay status of “Account 120 Days Past Due” for the above listed account on

Plaintiff’s Trans Union report dated 01/22/2019. It is both impossible and incorrect for an account

that is closed with a “0” balance to still be reporting as 120 Days Past Due as of 01/22/2019. Not

only is the World Finance account false on the face of the credit report but this reporting is

misleading because it makes it look as if Plaintiff is still late on this account that was previously

closed with a zero balance. In addition to being inaccurate, this reporting misleads the credit

scoring algorithms used by the lending industry and thus lowers credit scores and further damages

Plaintiff’s creditworthiness and credit reputation.

   12.     According to Plaintiff’s Equifax credit report dated 12/31/2020, Plaintiff’s World

Finance account was closed with a $0 balance on or about Aug 10, 2018. Despite the World

Finance account being closed with a $0 balance on or around Aug 10, 2018, World Finance

continued to report an erroneous pay status of “Over 120 Days Past Due” for the above listed

account on Plaintiff’s Equifax report dated 12/31/2020. It is impossible and incorrect for an

account that is closed with a “0” balance to still be reporting as Over 120 Days Past Due as of

12/31/2020. Not only is the World Finance account false on the face of the credit report, but this

reporting is extremely misleading because it makes it look like the Plaintiff is still late on this

account that was closed with a zero balance. In addition to being inaccurate, this reporting misleads

the credit scoring algorithms used by the lending industry and thus lowers credit scores and further

damages Plaintiff’s creditworthiness and credit reputation.

   13.     The pay status is a significant data field that represents the current condition of the

account. The data field works independently of the other data fields in the reporting tradeline and

is critical in maintaining accurate reporting. The account is inaccurately reporting that Plaintiff is



                                                  3
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 4 of 13




currently “120 Days Past Due” or “Over 120 Days Past Due” on accounts that have a $0 balance.

Plaintiff’s financial obligations that were once due to World Finance have ceased. At the time that

the account was closed, the account should have been reported with a “Pay Status” data field

showing “closed”. Instead of reporting the account as currently past due “120 Days Past Due” or

“Over 120 Days Past Due”, the correct reporting would have reported the pay status as “closed”.

Reporting the account as currently 120 Days Past Due or Over 120 Days Past Due appears as if

the account is a very recent delinquency, which it is not. Recent delinquencies are more damaging

than older delinquencies because they are weighed heavier in determining credit scores. Because

the “pay status” acts independently from the other information, the inaccurate reporting of 120

Days Past Due or Over 120 Days Past Due is reporting as if Plaintiff is currently late on payments

to World Finance even if those late payments are $0. Listing a debt with a $0 balance owed as past

due is nonsensical. If no balance is owed, the consumer cannot be late paying the balance, the pay

status must report as “closed”. By continuing to report a balance, however, lenders believe that the

consumer is currently late, which negatively reflects on consumers’ credit repayment history, their

financial responsibility as a debtor, and their credit worthiness/reputation.

   14.     The computer algorithms used by the lending industry to determine a consumer’s credit

worthiness will misinterpret the status of Plaintiff’s World Finance account as reported by Trans

Union, Equifax to be a current past due obligation, thus negatively affecting Plaintiff’s credit

worthiness.

   15.     Plaintiff will provide expert testimony at the appropriate time to demonstrate the

negative effects of reporting a historical pay status in the current pay status data field.

   16.     Plaintiff disputed the inaccurate late pay status on their World Finance account through

dispute letters sent to Trans Union and Equifax.



                                                   4
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 5 of 13




    17.       Trans Union and Equifax did not follow reasonable procedures to assure maximum

possible accuracy and have been reporting false and inaccurate information even after they knew

or should have known the information was incorrect.

    18.       Trans Union and Equifax did not provide a good faith investigation into the disputed

pay status of the World Finance account. Trans Union and Equifax did nothing more than parrot

inaccurate data from World Finance in their investigation.

    19.       Based upon information and belief, Trans Union and Equifax received Plaintiff’s

dispute and transmitted the dispute to World Finance, triggering the investigations duties for

defendants; however, defendants failed. Had they conducted a proper investigation, they would

have discovered that the reporting of a late pay status for a $0 balance account is nonsensical and

wrong. Instead, Trans Union and Equifax verified the erroneous trade line displaying the late pay

status.

    20.       World Finance continues to report, and Trans Union and Equifax continue to allow

World Finance to report, a pay status indicating that the debt is currently late.

                             COUNT I
 TRANS UNION LLC’S VIOLATION OF 15 U.S.C. § 1681e(b) OF THE FAIR CREDIT
                          REPORTING ACT

    21.       Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs

above and incorporates them as if specifically set forth at length herein.

    22.       Defendant Trans Union prepared, compiled, issued, assembled, transferred, published,

and otherwise reproduced consumer reports regarding Plaintiff as that term is used and defined

under 15 U.S.C. § 1681a.

    23.       Said reports contained information about Plaintiff that was false, misleading, and

inaccurate.



                                                   5
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 6 of 13




   24.     Trans Union negligently and willfully failed to maintain and/or follow reasonable

procedures to assure maximum possible accuracy of the information it reported to one or more

third parties pertaining to Plaintiff, in violation of 15 U.S.C § 1681e(b). This is evidenced by the

fact that upon information and belief, Trans Union allowed World Finance to report a pay status

as actively delinquent despite a $0 balance indicated on the trade line.

   25.     Trans Union is currently violating 15 U.S.C. §1681e(b), by not following reasonable

procedures to assure maximum possible accuracy. If Trans Union was complying with 15 U.S.C.

§1681e(b), it would place a filter or formula in its reporting system that would suppress or block

an account with a zero balance from being reported with a current status of past due or late.

   26.     Plaintiff’s World Finance account was closed with a $0 balance, but Trans Union

continues to report the account with a late/past due status. If Trans Union had reasonable

procedures, they would not allow an account to report as though the account is currently past due,

with a “$0” balance. This is nonsensical. This account is reporting as though the Plaintiff is

currently past due each month. With this type of reporting, Plaintiff will never be able to make

their account current. Trans Union lacks the procedures to avoid such faulty reporting. Trans Union

knows that this account was paid; however, they continue to report a current status as past due.

   27.     As a direct and proximate cause of Trans Union’s failure to perform its duties under

the FCRA, Plaintiff has suffered actual and compensatory damages, mental anguish, humiliation,

and embarrassment.

   28.     Trans Union’s conduct, action, and inaction was willful, rendering it liable for actual

and statutory damages, and punitive damages in an amount to be determined by the jury pursuant

to 15 U.S.C. § 1681n. In addition to willful, Plaintiff also alleges that Trans Union was negligent,

which entitles Plaintiff to recover actual and compensatory damages under 15 U.S.C. § 1681o.



                                                 6
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 7 of 13




                                  COUNT II
     TRANS UNION LLC’S VIOLATION OF 15 U.S.C. § 1681i(a)(1)(A) & 15 U.S.C.
             §1681i(a)(5) OF THE FAIR CREDIT REPORTING ACT

   29.        Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs

above and incorporates them as if specifically set forth at length herein.

   30.        Defendant Trans Union prepared, compiled, issued, assembled, transferred, published,

and otherwise reproduced consumer reports regarding Plaintiff as that term is used and defined

under 15 U.S.C. § 1681a.

   31.        Said reports contained information about Plaintiff that was false, misleading, and

inaccurate.

   32.        Trans Union violated their duty under 15 U.S.C. §1681i(a)(1)(A) & 15 U.S.C.

§1681i(a)(5) for failing to conduct a good faith investigation and failing to permanently delete or

modify inaccurate information after receiving Plaintiff’s dispute. Plaintiff requested that Trans

Union reinvestigate the inaccurate reporting of the current pay status on their World Finance

account via detailed and thorough dispute letter specifically disputing the inaccurate current “Pay

Status: Account 120 Days Past Due”.

   33.        Trans Union did not conduct a good faith and reasonable investigation and failed to

permanently delete or modify the inaccurate information after receiving Plaintiff’s dispute. If they

had, they would have discovered that World Finance was reporting an incorrect historical pay

status to them instead of an accurate current pay status. All the information Trans Union needed

to determine this was in its own records and files. Trans Union failed in its duties under the Fair

Credit Reporting Act and has not conducted its own independent investigation into Plaintiff’s

dispute of the World Finance account. Trans Union simply parroted data from World Finance.

Trans Union did nothing more than regurgitate data from World Finance.



                                                   7
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 8 of 13




   34.        The fact that Trans Union is currently reporting inaccurate information on Plaintiff’s

credit profiles/credit reports to the best of Plaintiff’s information and belief, which are viewable

and have been viewed by third parties, is proof that Trans Union did not conduct a reasonable

investigation. If Trans Union would have thoroughly investigated the issues, they would have

determined that the account was paid off, with a “$0” balance and still reporting as if Plaintiff is

currently late and past due. If Trans Union had conducted a reasonable and good faith investigation

they would have corrected or deleted the Plaintiff’s account that is inaccurate and misleading.

   35.        As a direct and proximate cause of Trans Union’s failure to perform its duties under

the FCRA, Plaintiff has suffered actual and compensatory damages, mental anguish, humiliation,

and embarrassment.

   36.        Trans Union’s conduct, action, and inaction was willful, rendering it liable for actual

and statutory damages, and punitive damages in an amount to be determined by the jury pursuant

to 15 U.S.C. § 1681n. In addition to willful, Plaintiff also alleges that Trans Union was negligent,

which entitles Plaintiff to recover actual and compensatory damages under 15 U.S.C. § 1681o.

                             COUNT III
   EQUIFAX INFORMATION SERVICES LLC’S VIOLATION OF 15 U.S.C. § 1681e(b)
                 OF THE FAIR CREDIT REPORTING ACT


   37.        Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs

above and incorporates them as if specifically set forth at length herein.

   38.        Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Plaintiff as that term is used and defined under

15 U.S.C. § 1681a.

   39.        Said reports contained information about Plaintiff that was false, misleading, and

inaccurate.

                                                   8
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 9 of 13




   40.     Equifax negligently and willfully failed to maintain and/or follow reasonable

procedures to assure maximum possible accuracy of the information it reported to one or more

third parties pertaining to Plaintiff, in violation of 15 U.S.C § 1681e(b). This is evidenced by the

fact that upon information and belief, Equifax allowed World Finance to report a pay status as

actively delinquent despite a $0 balance indicated on the trade line.

   41.     Equifax is currently violating 15 U.S.C. §1681e(b), by not following reasonable

procedures to assure maximum possible accuracy. If Equifax was complying with 15 U.S.C.

§1681e(b), it would place a filter or formula in its reporting system that would suppress or block

an account with a zero balance from being reported with a current status of past due or late.

   42.     Plaintiff’s World Finance account was closed with a $0 balance, but Equifax continues

to report the account with a late/past due status. If Equifax had reasonable procedures, they would

not allow an account to report as though the account is currently past due, with a “$0” balance.

This is nonsensical. This account is reporting as though the Plaintiff is currently past due each

month. With this type of reporting, Plaintiff will never be able to make their account current.

Equifax lacks the procedures to avoid such faulty reporting. Equifax knows that this account was

paid; however, they continue to report a current status as past due.

   43.     As a direct and proximate cause of Equifax’s failure to perform its duties under the

FCRA, Plaintiff has suffered actual and compensatory damages, mental anguish, humiliation, and

embarrassment.

   44.     Equifax’s conduct, action, and inaction was willful, rendering it liable for actual and

statutory damages, and punitive damages in an amount to be determined by the jury pursuant to

15 U.S.C. § 1681n. In addition to willful, Plaintiff also alleges that Equifax was negligent, which

entitles Plaintiff to recover actual and compensatory damages under 15 U.S.C. § 1681o.



                                                 9
         Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 10 of 13




                                           COUNT IV
          EQUIFAX INFORMATION SERVICES LLC’S VIOLATION OF 15 U.S.C. §
          1681i(a)(1)(A) & 15 U.S.C. §1681i(a)(5) OF THE FAIR CREDIT REPORTING
                                               ACT

   45.        Plaintiff repeats, realleges, and reasserts the allegations contained in the paragraphs

above and incorporates them as if specifically set forth at length herein.

   46.        Defendant Equifax prepared, compiled, issued, assembled, transferred, published, and

otherwise reproduced consumer reports regarding Plaintiff as that term is used and defined under

15 U.S.C. § 1681a.

   47.        Said reports contained information about Plaintiff that was false, misleading, and

inaccurate.

   48.        Equifax violated their duty under 15 U.S.C. §1681i(a)(1)(A) & 15 U.S.C. §1681i(a)(5)

for failing to conduct a good faith investigation and failing to permanently delete or modify

inaccurate information after receiving Plaintiff’s dispute. Plaintiff requested that Equifax

reinvestigate the inaccurate reporting of the current pay status on their World Finance account via

detailed and thorough dispute letter specifically disputing the inaccurate current “Pay Status: Over

120 Days Past Due”.

   49.        Equifax did not conduct a good faith and reasonable investigation and failed to

permanently delete or modify the inaccurate information after receiving Plaintiff’s dispute. If they

had, they would have discovered that World Finance was reporting an incorrect historical pay

status to them instead of an accurate current pay status. All the information Equifax needed to

determine this was in its own records and files. Equifax failed in its duties under the Fair Credit

Reporting Act and has not conducted its own independent investigation into Plaintiff’s dispute of

the World Finance account. Equifax simply parroted data from World Finance. Equifax did

nothing more than regurgitate data from World Finance.

                                                  10
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 11 of 13




    50.     The fact that Equifax is currently reporting inaccurate information on Plaintiff’s credit

profiles/credit reports to the best of Plaintiff’s information and belief, which are viewable and have

been viewed by third parties, is proof that Equifax did not conduct a reasonable investigation. If

Equifax would have thoroughly investigated the issues, they would have determined that the

account was paid off, with a “$0” balance and still reporting as if Plaintiff is currently late and past

due. If Equifax had conducted a reasonable and good faith investigation they would have corrected

or deleted the Plaintiff’s account that is inaccurate and misleading.

    51.     As a direct and proximate cause of Equifax’s failure to perform its duties under the

FCRA, Plaintiff has suffered actual and compensatory damages, mental anguish, humiliation, and

embarrassment.

    52.     Equifax’s conduct, action, and inaction was willful, rendering it liable for actual and

statutory damages, and punitive damages in an amount to be determined by the jury pursuant to

15 U.S.C. § 1681n. In addition to willful, Plaintiff also alleges that Equifax was negligent, which

entitles Plaintiff to recover actual and compensatory damages under 15 U.S.C. § 1681o.

            Third Parties have viewed Plaintiff’s Trans Union and Equifax Credit Reports

    53.     The World Finance account that was reported on Plaintiff’s Trans Union and Equifax

credit reports has been viewed by third parties all to the detriment and loss of the Plaintiff.

    54.     Plaintiff has suffered actual harm due to Trans Union and Equifax still reporting the

negative tradeline provided by World Finance on Plaintiff’s Trans Union and Equifax reports even

though Trans Union and Equifax were put on notice of the inaccurate negative reporting through

Plaintiff’s dispute letters.

    55.     Plaintiff’s credit reports, credit information and file formulated by Trans Union and

Equifax have been viewed by current and potential credit grantors and extenders of credit, as



                                                  11
          Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 12 of 13




indicated by inquiries on each of their credit reports. The inaccurate information furnished by

World Finance and reported by Trans Union and Equifax is continuing to damage the Plaintiff’s

credit rating as well as their credit reputation.

    56.     At all times pertinent hereto, Defendants were acting by and through their agents,

servants, and/or employees who were acting within the course and scope of their agency or

employment, and under the direct supervision and control of Defendants herein.

    57.     At all times pertinent hereto, the conduct of the Defendants, as well as that of their

agents, servants and/or employees, was malicious, intentional, willful, reckless, and in grossly

negligent disregard for federal laws and the rights of the Plaintiff herein.

                                        PRAYER FOR RELIEF

    WHEREFORE, Plaintiff seeks judgment in Plaintiff’s favor against Defendants based on the

following requested relief:

    a. Actual and compensatory damages pursuant to 15 U.S.C. §1681;

    b. Statutory damages pursuant to 15 U.S.C. §1681;

    c. Punitive damages pursuant to 15 U.S.C. §1681;

    d. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §1681n, §1681o; and

    e. Such other and further relief as may be necessary, just and proper.

Respectfully submitted,

BY: /s/ Matthew Weisberg                                 BY: /s/ Gary Schafkopf
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                                                    12
       Case 2:21-cv-00270-JMY Document 1 Filed 01/20/21 Page 13 of 13




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                                     13
